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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------X
ROY TAYLOR,
                             Plaintiff,
                   -against-                                                   ORDER

CITY OF NEW YORK; OBCC C.O.                                              17-CV-7360 (AJN)(KNF)
NIEVES, OBCC CAPTAIN SLACK;
OBCC CAPTAIN ISAAC; NYPD
OFFICER JEAN FRANCISCO; NYPD
SERGEANT ELVIS BADIA,

                             Defendants.
------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE


         By a letter, Docket Entry No. 98, the plaintiff requests that the Court order jail adminis-
trators to permit him “to receive 3 days aweek [sic] minimum...access to [the] law library .” Jail
administrators have the discretion to manage their facilities and to determine the circumstances
under which those they have in custody may access the jail’s resources. The Court has
determined to defer to the determination made by the relevant jail administrators as it relates to
the number of days those they have in custody may access the law library. Therefore, the
plaintiff’s request, Docket Entry No. 98, is denied.

The Clerk of Court is directed to mail a copy of this order to the plaintiff.

Dated: New York, New York                                           SO ORDERED:
       October 19, 2020




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